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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


BATTLE BORN INVESTMENTS
COMPANY, LLC,

               Plaintiff,
                                                   Civil Action No. 24-0067 (BAH)
         v.

DEPARTMENT OF JUSTICE,

               Defendant.


                                 [PROPOSED] ORDER

         UPON CONSIDERATION of Defendant’s motion, and the entire record herein, it is

hereby

         ORDERED that Defendant’s motion is GRANTED; and

         ORDERED that summary judgment be ENTERED for Defendant.


SO ORDERED:




Date                                           BERYL A. HOWELL
                                               United States District Judge
